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Mehdi Barani 88337587 2 Gali
Official English Translator to IR Iran Judiciary, 3" Floor,
Mgr rt No.1398, After Amir Mosque, N Karegar St., Tehran, Iran,

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” ° 495-9 Tel.88337587 mehdi_baraniZ000@yahoo.com
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Official Translation
State emblem
ISLAMIC REPUBLIC OF IRAN
MINISTRY OF INTERIOR
STATE CIVIL STATUS REGISTRATION ORGANIZATION

DEATH CERTIFICATE

No. : F15 0817623

Particulars of the deceased :

First name : Siamak

Surname : Poor Zand

Sex : Male

National ID no. : 003-764940-1
Birth certificate no. :581

Issued in : Tehran

Born on : Sept.16,1931
Father’s name : Soltan Abdolrasoul
Mother’s name : Belgheis

Death event details

Cause .---

Date : April 29,2011

Place : Tehran

Reg. no. : 69134

Death certificate issued in : Behesht-e Zahra Personal Status Reg. Dept.
Date : May 5,2011

Remarks :

According to Document no. S/Gh 27 M and Computerized system: Cause of death : Several
damages due to heavy objects

This summary of death report, without any alterations and erasures, has been issued and
handed over to...

Certificate Issued by Tehran CIVIL STATUS REGISTRATION Dept.

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